                                                    - - - - - --      ----- - -- - -- - - - - --
Case 2:21-cr-00452-JS-SIL Document 41- Filed 10/29/21 Page 1 of 1 PageID #: 118




 The undersigned defendant has voluntarily consented to the above after full consultation with
 counsel. The undersigned defendant will suffer no prejudice by not consenting. If there is no
 co11scnt, the District Court Judge assigned, rather than the Magistrate Judge, will act.


        Defendant:       ~
                        7illieiu nior Maxwell, II
                            Isl Elizabeth Macedonio
        Counsel:



        Governmen t:




                                                             SO ORDERED:

                                                               /s/ Steven I. Locke
                                                             :Steven l. Locke, u.:s.M.J.

 Dated: I 0/29/2021
        Central Islip, New York




                                               2 of2
